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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                               BOWLING GREEN DIVISION



 JOSEPH L. ISLAS, an individual,
 on behalf of himself and all others
 similarly situated,

                               Plaintiff,
 V.                                                        Case 1:16-CV-00141-GNS

 FIRST RESOLUTION INVESTMENT
 CORP., UNIFUND CCR, LLC, and
 UNIFUND CCR PARTNERS

                               Defendants.


                                  FINAL ORDER APPROVING
                           CLASS ACTION SETTLEMENT AGREEMENT

        This matter is before the Court upon the Joint Motion for Final Approval of the Class

 Action Settlement Agreement filed by Plaintiff, Joseph L. Islas, individually and on behalf of

 himself and all others similarly situated ("Mr. Islas"), and Defendants First Resolution

 Investment Co1p., Unifund CCR, LLC, and Unifund CCR Paiiners (collectively, the

 "Defendants"). The Comt having reviewed the Pa1ties' Joint Motion for Final Approval of the

 Class Action Settlement Agreement, this matter having come on for heai111g on May 10, 2018,

 and the Comt being othe1wise sufficiently advised, IT IS HEREBY ORDERED:

        1.      The total number of Class Members is 1,464.

        2.      Notice was sent by first class mail to 1,464 persons at their last known address

 using Accessible Contact Infonnation.

        3.      The United States Postal Se1vice returned 323 Notices to the Settlement

 Administrator, First Class, Inc. as undeliverable. First Class, Inc. fo1wai·ded 3 retmned Notices to
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 forwarding addresses provided by the United States Postal Service and a skip-trace was

 performed to locate Class Members.

        4.      No Class Members have made objections to the Settlement.

        5.      From a total of 1,464 Class Members, no members properly excluded themselves

 from the Settlement.

        Based on the foregoing, it is HEREBY ORDERED AND ADJUDGED that the Parties’

 Joint Motion for Final Approval of the Class Action Settlement Agreement is GRANTED.

        It is further ORDERED AND ADJUDGED that:

        1.      Definitions.    For the purposes of this Order Granting Final Approval of the

 Class Action Settlement and Order of Dismissal with Prejudice (the “Order”), the Court adopts

 by reference each and every definition set forth in the Definitions section and throughout the

 Settlement Agreement. (DN 15-1).

        2.      Notice.         The Court finds that the distribution of the Notice as provided for

 in the Preliminary Approval Order (DN 18) fully and accurately informed all Class Members

 entitled to notice of the material elements of the Settlement Agreement, constituted the best

 notice practicable under the circumstances, constituted valid, due and sufficient notice, and

 complied fully with Federal Rule of Civil Procedure 23, the United States Constitution, and any

 other applicable law.

        3.      Objections.     The Court finds that after proper notice to the Class Members and

 after sufficient opportunity to object, no timely objections to the Settlement Agreement have

 been made. All Class Members who have not made their objections to the Settlement Agreement

 in the manner provided in the notice are deemed to have waived any objections by appeal,

 collateral attack, or otherwise.




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        4.      Exclusions.    The Court finds that after proper notice to the Class Members and

 after sufficient opportunity to request to be excluded from the Class, no Class Members

 requested exclusion from the Settlement Agreement. All Class Members who have failed to

 properly file requests for exclusion (requests to opt out) from the Settlement Agreement are

 bound by the terms and conditions of the Settlement Agreement and this Order.

        5.      Final Approval.       The Court finds that the Settlement is fair, reasonable,

 adequate, in the best interests of the Class Members under Federal Rule of Civil Procedure 23,

 was entered into in good faith, and serves the public interest. Accordingly, the Court approves

 final certification of the Classes for purposes of effecting the Settlement Agreement, approves

 the Settlement Agreement, and directs that the Parties implement it, as follows:

             a. The Parties are directed to implement the Settlement in accordance with all its

                terms;

             b. The Settlement Administrator First Class, Inc. is authorized and directed to

                distribute checks to those Class Members entitled to receive checks, pursuant to

                the Settlement Agreement and this Order;

             c. All Class Members shall, as of the entry of Final Judgment, conclusively be

                deemed to have released and forever discharged Defendants and their Related

                Parties from all Released Claims, and all Class Members are forever enjoined and

                barred from asserting, instituting, or prosecuting in any capacity, before any court

                or governmental agency, any action or proceedings against the Defendant that

                asserts any Released Claims.

             d. Nothing herein shall alter, amend, or terminate the right of Defendants and its

                clients to collect any remaining Judgment Balance after receiving the Judgment




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               Credit, for any Account. Nothing herein shall otherwise release or discharge (1)

               any legally enforceable claim that Defendants and its clients may have against any

               Class Member or any other person or entity, or (2) any legally enforceable lien

               that Defendants may have against any or all Class Members or any other person

               or entity, unless otherwise indicated in the Settlement Agreement. Nothing herein

               shall otherwise void or abrogate the contractual obligations of any Settlement

               Class Member nor impair or limit any right of cause of action by the Class to

               dispute the remaining underlying judgment amount owed to Defendants and its

               clients after receiving the Judgment Credit.

        6.     Class Representative Incentive Award.          The Court finds that the Class

 Representative Award is fair and reasonable under the circumstances and directs that the

 stipulated and agreed upon amount of $500.00 shall be paid to the Representative Plaintiffs

 within the time period provided in the Settlement Agreement. Thus, contemporaneously

 herewith, the Court will enter an Order granting Mr. Islas’s unopposed Motion for an Order

 Awarding the Incentive Payment. (DN 22).

        7.     Attorneys’ Fees, Costs and Expenses.           The Court finds that Class Counsel’s

 hourly rate of $300 per hour is reasonable. The Court relies on its experience with local

 attorney’s fees, the reasonableness of the parties’ Settlement Agreement, and the representations

 of Class Counsel and Jason L. Hargadon in making this finding. The Court finds that the number

 of hours worked by Class Counsel was reasonably necessary. Accordingly, the Court approves of

 the stipulated and agreed upon total amount of $65,000, directs that it shall be paid to Class

 Counsel within the time period provided in the Settlement Agreement, and, contemporaneously




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              b. An admission or concession that any of the Class Members have suffered

                 damages; or

              c. An admission or concession that this case is properly maintainable as a class

                 action apart from the Settlement Agreement.

 Neither the Settlement Agreement nor any document associated with it shall be deemed to be or

 construed as an admission by any settling Party of any act, matter, proposition, or as reflecting

 any merit or lack of merit of any claim or defense, including but not limited to the

 appropriateness of class treatment in this Action.

        11.      No Reason for Delay. There is no just reason for delay, and this is a final,

 appealable order.

        12.      Costs. The dismissal of this action shall be without costs taxed to either party.




                                                            Greg N. Stivers, Judge
                                                          United States District Court
                                                                   May 10, 2018




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